Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 1 of 34 PageID #:
                                     4574
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 2 of 34 PageID #:
                                     4575
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 3 of 34 PageID #:
                                     4576
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 4 of 34 PageID #:
                                     4577
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 5 of 34 PageID #:
                                     4578
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 6 of 34 PageID #:
                                     4579
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 7 of 34 PageID #:
                                     4580
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 8 of 34 PageID #:
                                     4581
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 9 of 34 PageID #:
                                     4582
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 10 of 34 PageID #:
                                     4583
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 11 of 34 PageID #:
                                     4584
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 12 of 34 PageID #:
                                     4585
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 13 of 34 PageID #:
                                     4586
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 14 of 34 PageID #:
                                     4587
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 15 of 34 PageID #:
                                     4588
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 16 of 34 PageID #:
                                     4589
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 17 of 34 PageID #:
                                     4590
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 18 of 34 PageID #:
                                     4591
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 19 of 34 PageID #:
                                     4592
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 20 of 34 PageID #:
                                     4593
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 21 of 34 PageID #:
                                     4594
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 22 of 34 PageID #:
                                     4595
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 23 of 34 PageID #:
                                     4596
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 24 of 34 PageID #:
                                     4597
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 25 of 34 PageID #:
                                     4598
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 26 of 34 PageID #:
                                     4599
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 27 of 34 PageID #:
                                     4600
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 28 of 34 PageID #:
                                     4601
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 29 of 34 PageID #:
                                     4602
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 30 of 34 PageID #:
                                     4603
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 31 of 34 PageID #:
                                     4604
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 32 of 34 PageID #:
                                     4605
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 33 of 34 PageID #:
                                     4606
Case 1:17-cv-00052-IMK-MJA Document 123-10 Filed 07/29/19 Page 34 of 34 PageID #:
                                     4607
